Case 1:17-cv-00227-JFB-SRF Document 77 Filed 11/19/18 Page 1 of 2 PageID #: 919



                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

NOVO NORDISK INC. and NOVO                    )
NORDISK A/S,                                  )
                                              )
              Plaintiffs,                     )
                                              )
       v.                                     ) C.A. No. 17-227-JFB-SRF
                                              )
TEVA PHARMACEUTICALS USA, INC.,               )
                                              )
              Defendant.                      )

                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on November 16, 2018, the following document was

served on the persons listed below in the manner indicated:

       1. Defendant’s Third Amended Invalidity Contentions

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Case 1:17-cv-00227-JFB-SRF Document 77 Filed 11/19/18 Page 2 of 2 PageID #: 920



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